






Opinion issued April 10,  2008










In The

Court of Appeals

For The

First District of Texas






NO. 01-07-00728-CV






JOSE A. HERNANDEZ, Appellant


V.


FIRE &amp; CASUALTY INSURANCE COMPANY, Appellee






On Appeal from the 164th District Court

 Harris County, Texas

Trial Court Cause No. 2007-12794






MEMORANDUM OPINION	Appellant Jose A. Hernandez has failed to timely file a brief.  See Tex. R. App.
P. 38.8(a) (failure of appellant to file brief).  After being notified that this appeal was
subject to dismissal, appellant did not adequately respond.  See Tex. R. App. P.
42.3(b) (allowing involuntary dismissal of case).

	The appeal is dismissed for want of prosecution for failure to timely file a brief. 
All pending motions are denied.

PER CURIAM

Panel consists of Justices Taft, Keyes, and Alcala.


